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 1
                                       CERTIFICATE OF SERVICE
 2
             I declare that I am a citizen of the United States and I am a resident and employed in
 3   San Diego, California; that my business address is 964 Fifth Ave., Suite 214 San Diego, CA
     92101; that I am over the age of 18 and not a party to the above-entitled action. I am a member
 4
     of the United States District Court for the Central District of California, and I caused service of
 5   the foregoing document entitled:

 6   (1) NOTICE OF APPEARANCE;
 7
     (2) NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE CLAIMS TO CERTAIN
 8   TRUST PROPERTY PURSUANT TO SUPPLEMENTAL RULE G AND THIS COURT’S
     SCHEDULING ORDER; MEMORANDUM OF POINTS AND AUTHORITIES;
 9   DECLARATION WITH EXHIBITS AND PROPOSED CLAIMS AND DECLARATION; and
10
     (3) CERTIFICATION AND NOTICE OF INTERESTED PARTIES.
11
     on all interested parties as follows:
12

13   [X] BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with the
     Clerk of the District Court using its CM/ECF System pursuant to the Electronic Case Filing
14   provision of the United States District Court General Order and the E-Government Act
     of 2002, which electronically notifies all parties in this case.
15

16   [X] BY ELECTRONIC TRANSMISSION: by sending a copy of the filed documents in
     PDF format to pro se parties who have agreed to electronic service
17
     Troy Larkin                                           Ramon Larkin
18
     troy.larkin@gmail.com                                 ramonlarkin@gmail.com
19
     [X]BY FIRST CLASS MAIL: by placing a copy of the filed documents in a sealed
20   envelope with postage fully paid and addressing the envelope to the following pro se parties:
21
     Jill Anderson                                         John R. Becker
22   2201 North Central Ave. No. 6A                        7025 East Greenway Pkwy, Suite 800
     Phoenix, AZ 85004                                     Scottsdale, AZ 85254
23

24
             I declare under penalty of perjury under the laws of the United States of America
     that the foregoing is true and correct.
25
     Executed on November 17, 2020 at San Diego, California.
26

27
                                    s/ Benjamin P. Lechman
                                    BENJAMIN P. LECHMAN
28                                  Attorneys for Proposed Claimants Roarke and Colin Lacey
